USCA4 Appeal: 22-1221       Doc: 90     Filed: 12/19/2023   Pg: 1 of 2




                                                               FILED: December 19, 2023


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                       ___________________

                                            No. 22-1221
                                          (A205-827-903)
                                       ___________________

        JOSE ANTONIO MARTINEZ

                       Petitioner

        v.

        MERRICK B. GARLAND, Attorney General

                       Respondent

        ----------------------------

        AMERICAN CIVIL LIBERTIES UNION

                      Amicus Curiae

        and

        PIERRE RILEY

                      Amicus Supporting Petitioner

                                       ___________________

                                            ORDER
                                       ___________________
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              Upon consideration of the joint motion for extension of time to file rehearing

        petition, the court grants the motion and extends the filing date to February 1, 2024.

                                               For the Court

                                               /s/ Nwamaka Anowi, Clerk
